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                       UNITED STATES BANKRUPTCY COURT
                         SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

In re:                                      §   Chapter 11
                                            §
ATP Oil & Gas Corporation,                  §   Case No.: 12-36187
                                            §
          Debtor.                           §   Hon. Marvin Isgur


         NOTICE OF FILING OF REVISED PROPOSED ORDER TO 9019 MOTION
                         [Related to Dkt. Nos. 2937 & 2961]

      PLEASE TAKE NOTICE that attached hereto as Exhibit A is a revised proposed
FINAL ORDER APPROVING: (I) COMPROMISES AND SETTLEMENTS BETWEEN THE
DEBTOR AND MARUBENI OIL & GAS (USA) INC. AND BETWEEN THE DEBTOR AND THE
WILLIAMS COMPANIES, INC.; (II) SALE OF DEBTOR’S INTEREST IN CERTAIN
INVENTORY FREE AND CLEAR OF LIENS, CLAIMS AND ENCUMBRANCES; (III)
ASSUMPTION AND ASSIGNMENT OF CERTAIN RIGHTS OF WAY FREE AND CLEAR OF
LIENS, CLAIMS AND ENCUMBRANCES; (IV) APPROVING CERTAIN PROCEDURES
RELATED TO THE ASSUMPTION AND THE ASSUMPTION AND ASSIGNMENT OF
CERTAIN EXECUTORY CONTRACTS AND/OR UNEXPIRED LEASES; (V) REJECTION OF
CERTAIN EXECUTORY CONTRACTS AND INCORPORATING PROCEDURES RELATING
THERETO; (VI) FORM AND MANNER OF THE SALE AND THE SALE HEARING; AND (VI)
GRANTING RELATED RELIEF CONSISTENT THEREWITH [Dkt. No. 2937] (the “9019
Order”).

         PLEASE TAKE FURTHER NOTICE that attached hereto as Exhibit B is a copy of the
9019 Order in redline format indicating all cumulative changes to the 9019 Order previously
filed at Dkt. No. 2961.

        PLEASE TAKE FURTHER NOTICE that attached hereto as Exhibit C is a revised
draft of Exhibit 10 to the 9019 Motion.

        PLEASE TAKE FURTHER NOTICE that attached hereto as Exhibit D is a revised
draft of Exhibit 10 to the 9019 Motion in redline format indicating all cumulative changes
thereto.

        PLEASE TAKE FURTHER NOTICE that, based upon the revisions that have been
made to the revised 9019 Order attached hereto as Exhibit A pursuant to negotiations between
the Debtor, MOGUS and those parties who had objected to the relief sought in the 9019 Motion
(including, in particular, the inclusion of new Paragraphs 61 through 67), the Debtor believes
that the limited objections asserted by BP and Total at Docket No. 2969 have been fully
resolved.
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Dated: February 26, 2014

                                  Respectfully submitted,

                                  MAYER BROWN LLP

                                  By: /s/ Charles S. Kelley
                                  Charles S. Kelley
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                                  ATTORNEYS TO THE DEBTOR AND
                                  DEBTOR-IN-POSSESSION




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